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            U NITED S TATES C OURT OF A PPEALS
                 FOR THE F OURTH C IRCUIT


                             No. 24-4201


                U NITED S TATES OF A MERICA ,
                          Plaintiff-Appellant,
                                    v.

                    K EITH R ODNEY M OORE ,
                         Defendant-Appellee.


            Appeal from the United States District Court
                 for the Eastern District of Virginia
                            at Richmond
          The Honorable John A. Gibney, Jr., District Judge


              R EPLY B RIEF OF THE U NITED S TATES


Jessica D. Aber                          Jacqueline R. Bechara
United States Attorney                   Assistant United States Attorney

Shea M. Gibbons                          2100 Jamieson Avenue
Erik S. Siebert                          Alexandria, Virginia 22314
Assistant United States Attorneys        (703) 299-3700


              Attorneys for the United States of America
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                                      Argument

      This case began as a routine traffic stop.        After seeing the same fake,

temporary license plate on three cars in the same night, Richmond Police

Department (“RPD”) Officers Dominic Collombo, Keegan Mills, Michael Spinos,

and Nakia Williams initiated a stop of Keith Moore’s car. Moore fled, first by car,

then on foot. Eventually, officers detained him and found a gun in plain view in his

car. A federal grand jury charged Moore with possessing a firearm as a felon.

      The district court correctly found, after an evidentiary hearing on Moore’s

motion to suppress, that the officers were “legally justified in stopping Moore’s

vehicle” after seeing the same fake, temporary license plate for the third time in a

matter of hours. JA1785. Indeed, any reasonable officer under the circumstances

would have initiated a stop to investigate the likely traffic offense.

      The district court also correctly found, after three days of testimony on

Moore’s selective-enforcement claim, that he “presented no evidence of the four

officers’ invidious or bad faith.” JA1812. But the district court went on to dismiss

the indictment with prejudice, finding that raw statistical disparities in citywide

traffic stops and decades-old historical evidence of racial discrimination in

Richmond proved that the officers selectively enforced the traffic laws against

Moore because of his race.




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      The opening brief set forth three grounds of reversible error in the dismissal

order. First, the district court erred by applying a preponderance-of-the-evidence

standard, instead of a clear-evidence standard, in evaluating Moore’s

selective-enforcement claim. Second, Moore did not prove discriminatory purpose

because the statistical and historical evidence lacked any connection to the officers

in this case.   Third, the district court committed multiple analytical errors in

concluding that the same flawed statistical and historical evidence established

discriminatory effect.

      To date, Moore has never cited, and the government has not located, any

decision upholding the dismissal of a federal indictment on such thin evidence.

Instead, the overwhelming weight of authority confirms that Moore failed to meet

his burden to obtain dismissal under the demanding standard of United States v.

Armstrong, 517 U.S. 456 (1996). Therefore, the Court should reverse.

I.    The district court applied the wrong standard of proof in evaluating
      Moore’s selective-enforcement claim.

      This Court has consistently held that the clear-evidence standard for proving

selective prosecution articulated in Armstrong is the standard for proving selective

enforcement. Accordingly, the district court erred by requiring Moore to prove his

selective-enforcement claim by only a preponderance of the evidence. Gov’t Br.

28–35.



                                         2
      A.     The district court was bound by this Court’s precedent
             applying Armstrong to selective-enforcement claims.

      The district court’s decision to apply a preponderance-of-the-evidence

standard conflicts with this Court’s consistent precedent applying Armstrong’s

clear-evidence standard to selective-enforcement claims. See United States v. Hare,

820 F.3d 93, 99 (4th Cir. 2016); United States v. Mason, 774 F.3d 824, 829–30

(4th Cir. 2014); United States v. Suarez, 321 F. App’x 302, 305 (4th Cir. 2009)

(per curiam); United States v. Bullock, 94 F.3d 896, 899 (4th Cir. 1996). Moore

emphasizes that Hare, Mason, and Suarez all rely on Bullock, which purportedly

addressed the standard of proof only in dicta. Def. Br. 23–26. That characterization

unduly minimizes Bullock, where the Court reasoned that, although “racially

motivated law enforcement can violate the equal protection component of the Fifth

Amendment’s Due Process Clause,” the defendant had “failed to meet the rigorous

standard for proving such a violation.” 94 F.3d at 899 (emphasis added) (citing

Armstrong, 517 U.S. at 463). That the defendant “failed to lay any foundation for

an equal protection challenge,” id., does not mean the Court ignored the applicable

standard of proof altogether. Nor did the Court indicate that it left the question open

for future resolution.

      Even if Bullock left room for doubt, Mason and Hare dispelled any

uncertainty as to the governing standard. In Mason, the Court reiterated that it “has

adopted the standard the Supreme Court set forth in” Armstrong “for cases of racially
                                          3
animated law enforcement.” 774 F.3d at 829 (citing Bullock, 94 F.3d at 899). The

Court did not just cite Bullock without further reasoning. Instead, the Court observed

that “[b]oth the Supreme Court and this [C]ourt have explained why this is a difficult

contention on which to prevail.” Id. Namely, “[a] selective law enforcement claim

‘asks a court to exercise judicial power over a special province of the Executive.’”

Id. at 829–30 (quoting Armstrong, 517 U.S. at 464). Given “‘the great danger of

unnecessarily impairing the performance of a core executive constitutional

function,’” a criminal defendant “must demonstrate ‘clear evidence’ of racially

animated selective law enforcement.” Id. at 830 (quoting United States v. Olvis,

97 F.3d 739, 743 (4th Cir. 1996)). Continuing, the Court emphasized that “[t]his

‘standard is intended to be a demanding and rigorous one.’” Id. (quoting Olvis,

97 F.3d at 743).

      Mason’s extended discussion of the standard of proof was not dicta. Instead,

that discussion was central to the Court’s conclusion that the defendant’s trial

counsel did not render ineffective assistance “in appreciating the difficulty” of

pursuing a selective-enforcement claim. Id. at 829. Counsel could not “be deemed

ineffective for taking the Supreme Court’s own statements as to its difficulty and as

to its separation of powers implications into account.” Id. at 830. Further, the Court

applied Armstrong to the facts of the case in assessing whether the defendant was

entitled to an evidentiary hearing on his ineffective-assistance claim. See id. at 831–


                                          4
32. The Court concluded, however, that “[t]he facts of this case” did “not suggest a

successful Armstrong claim.” Id. at 832. Thus, Mason’s explication of the standard

of proof could not “have been deleted without seriously impairing the analytical

foundations of the holding” and is not dicta. Payne v. Taslimi, 998 F.3d 648, 654

(4th Cir. 2021) (internal quotation marks omitted).

      Although Mason arose in the context of an ineffective-assistance claim, Hare

reiterated the clear-evidence standard on direct appeal from the denial of a motion

for selective-enforcement discovery. Notably, the defendants in Hare disputed the

applicability of Armstrong to selective-enforcement claims altogether.            See

Consolidated Opening Brief of Appellants at 22–27, United States v. Hare,

No. 14-4758 (L) (4th Cir. Apr. 20, 2015), Doc. No. 50. Nonetheless, the Court

reaffirmed that it “has adopted Armstrong’s standard for proving selective

prosecution as the standard for proving selective enforcement.” Hare, 820 F.3d at

99 (citing Bullock, 94 F.3d at 899). In doing so, the Court distinguished the standard

for proving selective enforcement, which is settled, from the standard for obtaining

selective-enforcement discovery, which the Court had not “specifically addressed.”

Id.; cf. United States v. Washington, 869 F.3d 193, 214–16 (3d Cir. 2017)

(distinguishing between the standards of proof for substantive selective-enforcement

claims and for discovery requests).




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      This Court has also applied the clear-evidence standard in unpublished

decisions. In Suarez, the Court observed that “[t]he standard for establishing a

selective enforcement claim is ‘demanding’ and requires evidence that clearly

contradicts the presumption that officers have not violated equal protection.”

321 F. App’x at 305 (quoting Armstrong, 517 U.S. at 463, and citing Bullock,

94 F.3d at 899). The Court held that the evidence in the record failed to show

discriminatory purpose or discriminatory effect. See id. Likewise, Johnson v.

Holmes, 782 F. App’x 269 (4th Cir. 2019) (per curiam), recognized that this Court

in Hare “adopt[ed] the standard in” Armstrong “as the standard for selective

enforcement cases.” Id. at 276; see also id. at 281 n.14 (“Although Armstrong and

Olvis [involved] selective prosecution claims, they apply the same standard as

selective enforcement claims.” (citing Hare, 820 F.3d at 99)). The district court’s

decision violated this settled precedent.

      B.     Moore’s reasons for applying a lower standard of proof
             are not persuasive.

      Moore does not defend the district court’s mistaken reasoning that the

standard of proof for a selective-enforcement claim should be lower than the

standard for a selective-prosecution claim because the latter requires a defendant to

identify by name similarly situated individuals who were not prosecuted. JA1808;

see Gov’t Br. 32–33 (explaining why that reasoning is incorrect). Nonetheless,

Moore offers several reasons why the Court should discard its prior precedent and
                                            6
adopt a preponderance-of-the-evidence standard.          Def. Br. 19–23.       It is

well-established, however, that “one panel cannot overrule a decision issued by

another panel.” McMellon v. United States, 387 F.3d 329, 332 (4th Cir. 2004)

(en banc). And none of Moore’s justifications supports a departure from this Court’s

consistent precedent.

      Moore relies heavily on Conley v. United States, 5 F.4th 781, 796 (7th Cir.

2021), where the Seventh Circuit held that the defendant “could prove his selective

enforcement claim by a preponderance of the evidence.” The Seventh Circuit

viewed its decision “as simply reaffirming the logic of” its prior decision in United

States v. Davis, 793 F.3d 712 (7th Cir. 2015) (en banc), where the court had “already

held en banc that Armstrong does not apply in the selective enforcement context.”

Conley, 5 F.4th at 796 n.4 (citing Davis, 793 F.3d at 720–22). But this Court has

already determined that Armstrong does apply to selective-enforcement claims. See

Hare, 820 F.3d at 99; Mason, 774 F.3d at 829; Suarez, 321 F. App’x at 305; Bullock,

94 F.3d at 899; see also Johnson, 782 F. App’x at 276, 281 n.14.

      Nor do Moore’s proffered reasons merit revisiting this Court’s precedent. He

notes that the preponderance-of-the-evidence standard generally governs civil

claims. Def. Br. 19. But the dismissal of an indictment in a criminal case is a

materially different context. Gov’t Br. 33–35; cf. Conley, 5 F.4th at 794 (reasoning

that the defendant’s habeas claim was a civil case). Moore also gestures to the


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standard for proving affirmative defenses. Def. Br. 20. But a request for dismissal

of the indictment based on selective enforcement is not a defense to the crime

charged; it is a challenge to the initiation of the prosecution itself. See Armstrong,

517 U.S. at 463; see also, e.g., In re United States, 397 F.3d 274, 286 (5th Cir. 2005).

      Moore adds that the separation-of-powers concerns animating Armstrong “do

not apply in the selective-enforcement context.” Def. Br. 21. But this Court has

specifically recognized that “[a] selective law enforcement claim ‘asks a court to

exercise judicial power over a special province of the Executive.’” Mason, 774 F.3d

at 829–30 (quoting Armstrong, 517 U.S. at 464). It is precisely because of “‘the

great danger of unnecessarily impairing the performance of a core executive

constitutional function’” that a defendant “must demonstrate ‘clear evidence’ of

racially animated selective law enforcement.” Id. at 830 (quoting Olvis, 97 F.3d at

743). Thus, selective-enforcement claims, like selective-prosecution claims, have

“separation of powers implications.” Id.; see also United States v. Alcaraz-Arellano,

441 F.3d 1252, 1264 (10th Cir. 2006) (reasoning that “[s]imilar caution is required

in reviewing a claim of selective law enforcement” as with a claim of selective

prosecution).

      Ultimately, “‘the rule that one panel cannot overrule’ another would be weak

tea indeed if all a later panel had to do was identify a fact, theory, or argument a

previous panel did not address.” Gibbons v. Gibbs, 99 F.4th 211, 215 (4th Cir. 2024)


                                           8
(quoting McMellon, 387 F.3d at 356). Because this Court’s precedent holds that

Armstrong’s clear-evidence standard for proving selective-prosecution claims

governs selective-enforcement claims, the district court erred in applying a

preponderance-of-the-evidence standard.

      In any event, the Court need not reach this issue here.          Even under a

preponderance-of-the-evidence standard, the district court erred in dismissing the

indictment because Moore failed to meet his burden of proving selective

enforcement.

II.   Moore failed to establish that the officers who stopped his car acted
      with discriminatory purpose.

      Discriminatory purpose “implies that the government ‘selected or reaffirmed

a particular course of action at least in part because of, not merely in spite of, its

adverse effects upon an identifiable group.’” United States v. Venable, 666 F.3d

893, 903 (4th Cir. 2012) (emphasis added) (quoting Wayte v. United States, 470 U.S.

598, 610 (1985)). In other words, “there is an element of causation that is a necessary

part” of showing discriminatory purpose. Sylvia Dev. Corp. v. Calvert Cnty.,

48 F.3d 810, 819 n.2 (4th Cir. 1995). Here, Moore failed to prove discriminatory

purpose because there is no connection between the statistical and historical

evidence and the officers who stopped his car. This error alone warrants reversal of

the dismissal order. See, e.g., United States v. Bass, 536 U.S. 862, 863 (2002)

(per curiam) (summarily reversing based solely on the defendant’s failure to show
                                          9
some    evidence     of   discriminatory     effect);   United    States    v.   Wilson,

--- F.4th ---, 2024 WL 5163081, at *7 (9th Cir. Dec. 19, 2024) (similar).

       A.    The Focus Mission Team’s use of traffic stops to
             investigate more serious crimes did not show that the
             officers who stopped Moore had discriminatory intent.

       After “rigorous challenge,” the district court found “an objectively reasonable

basis,” Mason, 774 F.3d at 831, for the traffic stop: “the officers suspected Moore

had violated a traffic law.” JA1785. The officers had probable cause to stop Moore

for a traffic offense upon seeing the same fake, temporary license plate for the third

time in a matter of hours. See United States v. Perry, 92 F.4th 500, 510 (4th Cir.

2024); United States v. Perez, 30 F.4th 369, 375 n.7 (4th Cir. 2022). That strongly

suggested that Officers Collombo, Mills, Spinos, and Williams stopped Moore’s car

because of the likely traffic offense, not because of his race. Gov’t Br. 36–39; see

also, e.g., United States v. Hastings, 126 F.3d 310, 314 (4th Cir. 1997) (concluding

that memoranda describing the defendant as “an active Republican” did not establish

discriminatory purpose where the affidavit of the agent who referred the case for

criminal investigation showed that the defendant’s “property, substantial earnings,

lifestyle and repeated failure to file tax returns led to the decision to prosecute”).

       Moore contends that the fact that the Fourth Precinct’s Focus Mission Team

conducted traffic stops in order to detect more serious crimes is evidence of the

officers’ discriminatory purpose. Def. Br. 29–30, 40. Although Moore raised this

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argument below, JA294, JA348–349, the district court did not find the Focus

Mission Team’s practices to be evidence of discriminatory purpose. See JA1812–

1815. Instead, the court repeatedly recognized that, even if the Focus Mission Team

conducted traffic stops as a pretext for investigating more serious crimes, that

practice was lawful. See, e.g., JA67 (“[T]he Supreme Court has said these kind of

pre-textual stops are allowed.”); JA320 (“The Supreme Court made it pretty clear

that pre-textual stops are acceptable.”); JA1755 (“But the Supreme Court says they

can use minor traffic violations to do that.”).       Ultimately, in ruling on the

selective-enforcement claim, the court found that Moore “presented no evidence of

the four officers’ invidious or bad faith.” JA1812. Instead, the court recognized that

the officers “pulled Moore over for having suspicious temporary tags after stopping

two other individuals the same night whose cars had the same exact temporary tag

number.” JA1812 n.19.

      Further, Moore conflates two distinct concepts: conducting traffic stops as a

pretext for investigating more serious crimes, and conducting traffic stops as a

pretext for race-based discrimination. The Supreme Court has made clear that

neither type of pretext renders a traffic stop unreasonable under the Fourth

Amendment “where the police have probable cause to believe that a traffic violation

has occurred.” Whren v. United States, 517 U.S. 806, 810 (1996). To be sure, the

Equal Protection Clause “prohibits selective enforcement of the law based on


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considerations such as race.” Id. at 813. But in this case, there is only evidence of

the first type of pretext, not the second. The total lack of evidence that the officers

stopped Moore’s car because of his race dooms his claim of selective enforcement.

      Officers Collombo and Williams acknowledged that the Focus Mission Team

conducted traffic stops to investigate more serious crimes. JA68, JA157. There is

no evidence, however, that the Focus Mission Team generally decided which cars to

stop based on the driver’s race. Moore also introduced no evidence that the officers

implemented an official RPD policy of stopping Black drivers because of their race.

Instead, RPD’s official policy is that “[i]n all enforcement decisions, officers shall

be able to articulate specific facts, circumstances, and conclusions, which support

probable cause or reasonable suspicion for arrests, searches, seizures, and stops of

citizens,” and “[o]fficers shall not stop, detain, arrest, search or attempt to search

anyone based solely upon the person’s race.” JA467.

      There is also no evidence that the officers specifically stopped Moore’s car

because of his race. On December 5, 2020, Officers Collombo, Mills, Spinos, and

Williams were on patrol in the Fourth Precinct because they were assigned to the

Fourth Precinct, JA50, JA91, JA145, JA177, not for some invidious reason. The

officers had never seen Moore before that night. JA85, JA133–134. And the officers

stopped Moore’s car because it had the same fake, temporary license plate as two

other cars they had stopped earlier that night. JA58, JA71. Any reasonable police


                                          12
officer in the same circumstances would have stopped the car to investigate the fake

tags. Cf. Whren, 517 U.S. at 813–15 (discussing the defendants’ proffered test for

“rooting out pretext”). Indeed, the district court observed that, where “we have got

the gentleman driving around with a fake license plate on and all that,” “[m]aybe

that gets stopped regardless of bias.”         JA1549.   “Officers cannot just cease

enforcement efforts where there is an objective reason to believe that there has been

a violation of the law.” Mason, 774 F.3d at 831.

      Moore emphasizes that, at the time of the stop, the officers lacked evidence

that he knew the plates were fake. Def. Br. 40. He also pressed this claim below,

JA86–87, but the district court implicitly rejected it when the court determined that

the officers “[w]ere legally justified in stopping Moore’s vehicle” because they

“suspected Moore had violated a traffic law,” JA1785 (internal quotation marks

omitted). That conclusion was correct because, “[w]hile intent is an element of the

crime which must be proved at trial, it is not necessary in order to establish probable

cause.” United States v. Abney, Nos. 94-5351, 94-5383, 1994 WL 620799, at *1

(4th Cir. Nov. 2, 1994) (quoting United States v. Everett, 719 F.2d 1119, 1120

(11th Cir. 1983) (per curiam)); see also, e.g., United States v. Mubdi, 691 F.3d 334,

341 n.7 (4th Cir. 2012) (“The government’s probable cause burden requires no more

than a reasonable ground to believe that an offense has been committed, a standard

far less exacting than that imposed on the government to prove guilt beyond a


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reasonable doubt.”), vacated and remanded on other grounds, 570 U.S. 913 (2013).

Indeed, this Court has recognized that an officer “had a legitimate reason to stop”

the defendant’s car where “the vehicle’s license plate was expired and—based on

[the officer’s] experience—likely fictitious.” Perez, 30 F.4th at 375 n.7 (emphasis

added).

      B.     Citywide traffic stop statistics did not show that the
             officers who stopped Moore had discriminatory intent.

      The opening brief detailed why Dr. Coston’s statistical evidence could not

prove that Officers Collombo, Mills, Spinos, and Williams stopped Moore’s car

because of his race. Gov’t Br. 39–46. Moore maintains that the district court could

infer discriminatory purpose based on Dr. Coston’s evidence of the statistical

disparity in traffic stops by race. Def. Br. 30–31. But the Supreme Court has

rejected “the proposition that a law or other official act, without regard to whether it

reflects a racially discriminatory purpose, is unconstitutional solely because it has a

racially disproportionate impact.” Washington v. Davis, 426 U.S. 229, 239 (1976).

Even if the data showed some evidence that RPD’s traffic stops have a disparate

impact, Moore still had to establish discriminatory purpose. The statistical evidence

here fell short of that requirement.

      Moore renews the faulty proposition that, because 77 percent of the drivers

stopped by RPD from July 1, 2020 through December 6, 2020 were Black, that

means Black drivers were “5.13 times more likely” to be stopped than white drivers.
                                          14
Def. Br. 31; see JA357. Moore does not address the problem that, without evidence

of the total numbers of Black drivers and white drivers on the road, 5.13 reflects only

a multiple of the number of white drivers stopped, not the probability of a Black

driver being stopped. See Gov’t Br. 55–56.

      Further, absent any connection between the citywide traffic stop data and the

officers who stopped Moore’s car, the statistical evidence failed to show that the

officers in this case stopped Moore’s car because of his race. Gov’t Br. 39–41.

Moore questions the significance of demonstrating such a connection. Def. Br. 33–

34. But such evidence is essential because, to prevail on a claim of selective

enforcement, Moore must prove that the officers in his case acted with

discriminatory purpose. See Wayte, 470 U.S. at 610 (Discriminatory purpose

“implies that the decisionmaker . . . selected or reaffirmed a particular course of

action at least in part because of, not merely in spite of, its adverse effects upon an

identifiable group.” (emphases added) (internal quotation marks omitted)).

      Dr. Coston analyzed the traffic stops conducted by all RPD officers in all

precincts from July 1, 2020 through December 6, 2020. JA355. But Officers

Collombo, Mills, Spinos, and Williams were assigned to RPD’s Fourth Precinct, and

on December 5, 2020, they stopped Moore’s car in the Fourth Precinct. JA51.

Without evidence of any connection between the citywide data and the officers in

this case, the statistics cannot prove that the officers who decided to stop Moore’s


                                          15
car acted with discriminatory purpose. See Hastings, 126 F.3d at 314 (holding that

the defendant had not established discriminatory purpose because, “even if there

were some evidence of political animus on the part of the IRS’s civil or criminal

division,” there was “no evidence that the government official who actually made

the decision to prosecute the case was motivated by impermissible considerations”

(emphasis added)).

      The statistical evidence also fell short of Moore’s burden given Dr. Coston’s

consistent testimony that the data could not establish a causal relationship “between

race and the other variables that were examined.” JA1386; see JA1299–1300 (“We

cannot work backwards from those large scale patterns to say this is why one

individual person . . . did the thing they did.”), JA1385–1386 (“I am not making

conclusions about causation.”). Moore incorrectly asserts that “the chi-square

analysis Dr. Coston conducted examined whether there was a relationship” between

“race” and “the disparity in stops.” Def. Br. 34. Dr. Coston did not perform a

chi-square analysis on the relationship between a driver’s race and the initial stop.

See JA358 (Table 1 summarizing traffic stops by race of driver). Instead, their report

uses basic division, not statistical analysis, to describe the drivers of each race who

were stopped as an absolute number and as a percentage of all stops in the sample.

JA358. Dr. Coston explained that “we would have to know [] what the population

of drivers who were not stopped was . . . in order to actually conduct a statistical


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test.” JA1313. For this reason, Dr. Coston testified that, based on “just the

frequency and percents[,] we can’t determine statistical significance.” JA1313.

      Dr. Coston performed chi-square analyses only on the relationship between a

driver’s race and the post-stop outcome (arrest, summons/citation, or warning) and

the relationship between a driver’s race and whether a person or the vehicle was

searched during the stop.      See JA359–360 (Tables 2, 3, and 4 summarizing

chi-square tests). But Moore challenged as racially motivated the officers’ initial

decision to stop his car, not the post-stop decisions to search his car and arrest him

for possessing a firearm as a felon. Cf. JA1785–1786 (district court finding that,

when “the officers took him into custody,” “Moore had committed multiple crimes

for which the police could arrest him” and “had abandoned his car and gun, losing

any reasonable expectation of privacy in that property”).

      Moreover, Dr. Coston admitted that a chi-square analysis can never establish

causation.   JA1386.    And Moore has shown no connection between the data

reflecting post-stop outcomes for all RPD officers in all precincts from July 1, 2020

through December 6, 2020 and the officers who stopped Moore’s car in the Fourth

Precinct on December 5, 2020. Thus, the post-stop evidence suffers from the same

defects as the initial stop data in failing to establish that Officers Collombo, Mills,

Spinos, and Williams acted with discriminatory purpose.




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      Additionally, Dr. Coston testified that they “didn’t use the benchmarking for

the statistical analyses.” JA1377. As set forth further infra, both the initial stop data

and the data regarding post-stop outcomes did not satisfy Armstrong because it

lacked similarly situated comparators. Gov’t Br. 43–46, 53–54; see Olvis, 97 F.3d

at 745 (“[A]bsent an appropriate basis for comparison, statistical evidence of racial

disparity alone cannot establish any element of a discrimination claim.” (citing

Armstrong, 517 U.S. at 469–70)).

      Moore submits that Dr. Coston’s heat map provided circumstantial evidence

of discriminatory purpose because the map showed that RPD pulled over more Black

drivers than white drivers in both predominantly Black and predominantly white

neighborhoods. Def. Br. 31–32; see JA363 (Figure 5). But officers stopped Moore’s

car in the Fourth Precinct, JA51, which is a predominantly Black neighborhood, see

JA363. Moore does not articulate how data reflecting traffic stops of Black drivers

in white neighborhoods supports his claim that Officers Collombo, Mills, Spinos,

and Williams stopped Moore’s car in the Fourth Precinct because of his race. Cf.

Bass, 536 U.S. at 863–64 (reasoning that nationwide statistics showing that “the

United States enters into plea bargains more frequently with whites than it does with

blacks” did not establish some evidence of discriminatory effect “since respondent

was offered a plea bargain but declined it”).




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      C.     Remote historical evidence did not show that the officers
             who stopped Moore in 2020 had discriminatory intent.

      The opening brief also explained that Moore’s historical evidence failed to

meet his burden of proving discriminatory purpose because there was no connection

between this evidence and the present-day RPD, let alone the officers who stopped

his car. Gov’t Br. 46–52.

      Moore maintains that Dr. Chiles’s evidence provides “the historical context

in which the statistical evidence should be understood.” Def. Br. 32. But Dr. Chiles

had no evidence past 1989. See JA1734 (“Beyond 1989 I don’t have anything.”).

Moore adds that Dr. Chiles’s testimony established that Richmond’s history of

residential segregation by race persists today. Def. Br. 33. Dr. Chiles admitted,

however, that he had not reviewed information more recent than the 2010 census

data. See JA1726. Regardless, Dr. Chiles acknowledged that RPD is not currently

involved in residential segregation and has not been for a long time. JA1727.

Dr. Chiles further admitted that, “[t]o a large extent,” any residential segregation in

Richmond is the result of market forces and individual decisions outside RPD.

JA1727. Ultimately, none of Dr. Chiles’s historical evidence was probative of the

officers’ decision to stop Moore’s car in December 2020. See Vill. of Arlington

Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 267–68 (1977); United States v.

Sanchez-Garcia, 98 F.4th 90, 99–100 (4th Cir. 2024); Watkins v. Angelone,

No. 97-9, 1998 WL 2861, at *6 n.3 (4th Cir. 1998) (per curiam).
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      According to Moore, Richmond’s history of residential segregation “informs

how predominantly Black neighborhoods fall within the First, Second, and Fourth

Precincts   while    the   Third   Precinct    encompasses     predominantly      white

neighborhoods.” Def. Br. 33; see also Def. Br. 36. But there is no evidence in the

record showing that RPD devised its precinct boundaries because of the racial

composition of the underlying neighborhoods. Moore cites the 2010 census dot

maps, JA267–268; the depictions of each RPD precinct, JA276–279; and

Dr. Chiles’s testimony, JA1725–1726. But the maps and precinct depictions contain

no evidence of how or why RPD established the precinct boundaries. And Dr. Chiles

conceded that he had not reviewed historical precinct maps and did not know

whether RPD’s precinct boundaries had tracked racial boundaries in the past.

JA1727.

      Nonetheless, Moore relies on Dr. Chiles’s testimony that, since the 1970s,

“the majority of black people still live in the same areas that they did prior.” JA1725.

Moore seems to be implying that, if the racial distribution of residents in Richmond

is roughly the same today as it was in the 1970s, then that means RPD acted with

discriminatory purpose in establishing the precinct boundaries.            But Moore

introduced no evidence about how RPD devised the precinct boundaries. Indeed,

Dr. Chiles conceded that he had no evidence that RPD ever changed a precinct

boundary in response to shifting racial demographics in Richmond. JA1727.


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       The government introduced maps supporting the alternate explanation that

RPD’s precinct boundaries reflect the neighborhoods experiencing the most violent

crime. See JA1621–1622 & n.4. Moore responds that this information fails to

“explain away” the statistical disparity in traffic stops. Def. Br. 35. To be sure,

Dr. Coston’s statistical analysis fails to account for any confounding variables, such

as police deployment patterns. See JA1383. But the government in the district court,

JA1621–1622, and on appeal, Gov’t Br. 49–50, submitted the crime data as evidence

undermining Dr. Chiles’s assertions that RPD polices predominantly Black

neighborhoods for a discriminatory purpose. And, contrary to Moore’s suggestion,

the burden was not on the government to produce evidence disproving racial animus.

See Olvis, 97 F.3d at 746 (holding that “the district court also erred in apparently

imposing a duty on the government to ‘explain [the] evidence of statistical disparity’

that [the defendants] had presented”). “Instead, it is the defendant who bears the

burden of making a credible showing that the statistical evidence amounts to [clear]

evidence of discriminatory intent.” Venable, 666 F.3d at 903.

      Finally, the opening brief explained that the district court erred in finding

discriminatory purpose based on Moore’s assertions that (1) “studies have shown

that RPD officers have ‘stop[ped] far more [B]lack drivers than white drivers for

traffic offenses’ ‘[f]or at least twenty years,’” JA1814 (quoting JA351); and

(2) “‘Virginia would not have enacted the Community Policing Act but for a valid


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concern regarding racial profiling in Virginia,’” JA1814 (quoting JA489). Moore

does not defend the district court’s reliance on the enactment of the Virginia

Community Policing Act as evidence of discriminatory purpose, implicitly

conceding this was error. See generally Def. Br. 29–41.

      Addressing the “studies” cited by the district court, Moore suggests that the

court did not actually rely on the Richmond Transparency and Accountability

Project (“RTAP”) report. Def. Br. 37. The opening brief addressed both Dr. Smith’s

2000 study and RTAP’s 2019 report, Gov’t Br. 50–52, because the district court,

citing Moore’s filing, referenced “studies,” plural. JA1814 (quoting JA351). To the

extent Moore now disclaims reliance on the RTAP report, the government agrees

that it does not establish discriminatory purpose in this case. The report did not

provide any information about the initial stop decision; instead, it stated that “Black

people were 30.7% more likely to be arrested during a traffic stop than white

people.” JA418. Moore notes that this statistic is consistent with Dr. Coston’s

analysis showing a statistically significant relationship between a driver’s race and

an arrest outcome. Def. Br. 38. The claim here, however, is that the officers’ initial

decision to stop Moore’s car, not the outcome of the stop, was racially motivated.

Moreover, like Dr. Coston’s data, the RTAP statistic lacks any connection to the

officers in this case, does not show a causal relationship between race and arrests,

and lacks evidence of similarly situated comparators.


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       Moore does not dispute that, if the statistical and historical evidence in this

case were sufficient to satisfy his burden of proving discriminatory purpose, then the

same would be true for any Black driver stopped by an RPD officer. Because

well-established precedent requires some connection between circumstantial

evidence of discriminatory purpose and the challenged official action, Moore failed

to meet his burden even by a preponderance of the evidence.

III.   The district court erred in concluding that RPD’s traffic stops had a
       discriminatory effect.

       Relying on the same flawed statistical and historical evidence, the district

court committed multiple errors in finding that Moore met his burden of proving

discriminatory effect. Gov’t Br. 53–58. If the Court does not reverse the dismissal

order based on Moore’s failure to prove discriminatory purpose, then it should

remand for the district court to conduct a proper discriminatory-effect analysis in the

first instance.

       A.     The district court erred in concluding that a statistical
              disparity alone showed discriminatory effect.

       The district court began its analysis with the erroneous premise that Moore

was not required to show evidence of similarly situated individuals in order to prove

selective enforcement. JA1810–1811; see Gov’t Br. 32–33, 55. Moore does not

defend this error and implicitly accepts that this showing was required.           See

generally Def. Br. 41–47.

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      Next, the district court credited Moore’s assertion that, because 77 percent of

the drivers stopped by RPD from July 1, 2020 through December 6, 2020 were

Black, that meant that “Black drivers were 5.13 times more likely to be stopped than

white drivers.” JA1812; see JA357. The opening brief explained that, without

evidence about the total numbers of Black drivers and white drivers, including those

who were not stopped, Moore’s statistics could not determine the likelihood that a

Black driver would be stopped relative to the likelihood that a white driver would be

stopped. Gov’t Br. 55–56. Instead, the 5.13 figure simply reflects the number of

Black drivers stopped as a multiple of the number of white drivers stopped. See

JA357–358. Moore does not address this analytical error and instead repeats it. See

Def. Br. 31, 41, 43.

      Further, like many studies deemed insufficient by the Supreme Court and this

Court, Moore’s statistical evidence contained no appropriate basis for comparison.

Gov’t Br. 43–46, 53–54 (discussing Armstrong, Bass, Hare, Olvis, and Venable).

To prove that officers selectively enforced the traffic laws against Moore because of

his race, he had to provide evidence of similarly situated drivers of other races who

could have been stopped for traffic violations but were not. See Armstrong, 517 U.S.

at 469 (explaining that a selective-prosecution discovery motion requires “some

evidence that similarly situated defendants of other races could have been

prosecuted, but were not”); Hare, 820 F.3d at 99 (holding that the defendants’


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statistical evidence provided “no appropriate basis for comparison” because it

“contain[ed] no data on similarly situated white individuals who could have been

targeted for stash house sting investigations but were not”); Suarez, 321 F. App’x at

305 (rejecting selective-enforcement claim where there was “no evidence” that “the

officers failed to stop individuals of other races for exceeding the speed limit by

more than ten miles per hour”).

      Moore does not meaningfully distinguish these cases. Instead, he suggests

that it would be impossible to introduce evidence of similarly situated drivers who

could have been stopped for traffic offenses but were not. Def. Br. 45–46. But

Dr. Smith described multiple scientifically accepted methods to estimate the

population of drivers who could be stopped in a jurisdiction. JA447–448. And while

Moore emphasizes the Court’s decision in Johnson, that case only reinforces the

shortcomings in the data here. Johnson explained that, in Armstrong, Hare, and

Olvis, “the proffered statistics faltered because they said nothing about individuals

of other races who committed the same crimes but were treated more favorably.”

Johnson, 782 F. App’x at 281. By contrast, because the plaintiffs in Johnson alleged

that one officer, Holmes, selectively enforced the traffic laws based on race, the

plaintiffs could “compare data about Holmes’s traffic stops and summonses by race

with similar data from the rest of the police force and from individual officers

assigned to the same sectors as Holmes.” Id. at 282. In this way, “the percentage of


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white drivers stopped and ticketed by the other officers patrolling the same locations

as Holmes serve[d] as a proxy to show the general racial composition of drivers on

the road that Holmes could have pulled over but did not.” Id. Moore produced no

comparable evidence here.

      Instead, Moore maintains that census data satisfied his burden. Def. Br. 43.

But Dr. Coston only used the census data for the maps, not for the statistical analyses.

JA1377. Regardless, the purpose of “identifying a similarly situated class of law

breakers is to isolate the factor allegedly subject to impermissible discrimination.”

Olvis, 97 F.3d at 744 (internal quotation marks omitted).          Census data is an

inadequate metric because it fails to rule out other factors that may contribute to

whether an individual is stopped for a traffic offense. See JA447, JA1555; see

Wilson, 2024 WL 5163081, at *7 (reversing selective-prosecution discovery order

because, “[i]n defining the control group with only two shared facts—(1) arson

(2) within the Central District [of California]—the district court did not account for

many other facets of the crimes”). In passing, Moore suggests there is little evidence

“that Black drivers commit more traffic infractions than White drivers.” Def. Br. 45

(quoting JA353). But the district court did not rely on this proposition in finding

that the statistical evidence proved discriminatory effect. See JA1811–1812. In any

event, Moore fails to develop any argument as to how this information met his

burden here. See, e.g., United States v. Fernandez Sanchez, 46 F.4th 211, 219 (4th


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Cir. 2022) (A party “waives an issue by failing to develop [its] argument—even if

[its] brief takes a passing shot at the issue.” (internal quotation marks omitted)).

      Moore also asserts that the statistical evidence contained an appropriate basis

for comparison because the analyses of post-stop outcomes reflected both the total

sample of drivers who were stopped and the drivers who were arrested, received

summonses, and received citations. Def. Br. 46–47. But data regarding post-stop

outcomes does not show that the initial stop decision was racially motivated. Cf.

Armstrong, 517 U.S. at 470 (concluding that a newspaper article discussing “the

discriminatory effect of federal drug sentencing laws[] was not relevant to an

allegation of discrimination in decisions to prosecute”).

      B.     The district court erred in determining that remote
             historical evidence showed discriminatory effect.

      Moore offers no doctrinal justification for relying on decades-old historical

evidence to conclude that RPD’s traffic stops had a discriminatory effect in 2020.

See Gov’t Br. 57 (questioning the relevance of historical evidence to proving

discriminatory effect). Moore submits that the district court relied on Dr. Chiles’s

testimony as merely “supplemental” evidence of discriminatory effect. Def. Br. 47.

Thus, Moore implicitly concedes that the historical evidence could not meet his

burden. Given the errors in the district court’s analysis of the statistical evidence,

the court necessarily erred in finding the statistical and historical evidence together

established discriminatory effect.
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                                  Conclusion

      The Court should reverse the dismissal order and remand with instructions to

reinstate the indictment.

                                      Respectfully submitted,

                                      Jessica D. Aber
                                      United States Attorney


                                                       /s/
                                      Jacqueline R. Bechara
                                      Assistant United States Attorney




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                            Certificate of Compliance

      I certify that this brief was written using 14-point Times New Roman typeface

and Microsoft Word 2016.

      I further certify that this brief does not exceed 6,500 words (and is specifically

6,490 words) as counted by Microsoft Word, excluding the table of contents, table

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      I understand that a material misrepresentation can result in the Court’s striking

the brief and imposing sanctions.



                                                       /s/
                                     Jacqueline R. Bechara
                                     Assistant United States Attorney




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